Case 1:22-cr-00208-CBA-SJB Document 142 Filed 08/08/23 Page 1 of 2 PageID #: 1080

                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Eastern District of New York
  JPM:DEL/GP                                            271 Cadman Plaza East
  F. #2020R00580                                        Brooklyn, New York 11201



                                                        August 8, 2023

  By ECF

  The Honorable Carol B. Amon
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:     United States v. Yu et al.
                         Criminal Docket No. 22-208 (CBA)

  Dear Judge Amon:

                  The government respectfully submits this letter to supplement its July 28, 2023
  memorandum of law in support of its motion in limine (hereinafter the “404(b) Motion”). Since
  filing the 404(b) Motion, the government has learned of a second instance in which the defendant
  Allen Yu attempted to have U.S. immigration authorities take actions adverse to victim Xin
  “Chris” Gu’s new company. As previously briefed, such evidence of Yu’s motive to harm Gu is
  highly relevant to for the charged murder. This letter briefly sets forth the additional evidence
  that the government intends to elicit about this second immigration-related incident.

                  In the 404(b) Motion, the government described that after Allen Yu learned that
  an Amaco employee was going to join Chris Gu’s new company in the fall of 2018, Yu sent a
  letter to U.S. Citizenship and Immigration Services (“USCIS”) to effectively terminate that
  departing employee’s work visa.

                 Earlier this week, following a trial preparation interview of a second individual
  who also cut ties with Amaco to work for Chris Gu’s company (hereinafter, the “Witness”), the
  government learned of a second attempt by Allen Yu to contact immigration concerning the
  Witness. The Witness described being detained by U.S. immigration authorities in the fall of
  2018, near the time that Allen Yu had sent the above-described letter to USCIS. Law
  enforcement agents then identified in Allen Yu’s cellular phone records emails indicating that
  Allen Yu had contacted U.S. Immigration and Customs Enforcement (“ICE”) about the Witness
  on September 5 and 15, 2018. In an email dated September 5, 2018, Yu notified ICE that the
  Witness had a deportation order. Specifically, Yu wrote: “I just noticed someone I know has a
  deportation order. So I think it is better to report that. His name and address as below. Also, his
Case 1:22-cr-00208-CBA-SJB Document 142 Filed 08/08/23 Page 2 of 2 PageID #: 1081




  wife . . . is currently applying for the asylum, and all her application document is fake.” See
  Exhibit A (filed under seal). 1 Yu then included the contractor’s full name and address.

                  Ten days later, on September 15, 2018, Allen Yu sent a second email about the
  Witness to an ICE officer attaching the Witness’ picture and notifying the agent of Witness’
  license plate number. Yu wrote in this email: “This guy was taking our company over 1 million
  assets, almost causing our company bankrupt, and 50 people might lost job. Please let me know
  if you need any other documents.” See Exhibit A.

                 As previously briefed, these emails are further evidence that when Allen Yu
  learned Chris Gu was leaving Amaco to start a rival company, Allen Yu attempted to destroy
  Chris Gu’s new company. These emails, like the other evidence described in the government’s
  motion, is highly probative evidence that Allen Yu sought to harm Chris Gu, ultimately hiring
  men to kill him. The evidence of escalating hostility by Allen Yu is foremost direct evidence of
  the charged offenses because it clearly demonstrates Yu’s motive and planning to harm Gu. See
  ECF No. 136 at 11-13; see also id. at 12 (citing cases in which courts have admitted similar
  motive evidence).

                Accordingly, for the same reasons articulated in the 404(b) Motion, evidence of
  this second immigration-related incident should be admitted as evidence of Allen Yu’s motive to
  harm Chris Gu and to provide the jury full and essential background for Gu’s murder.


                                                        Respectfully submitted,

                                                        BREON PEACE
                                                        United States Attorney

                                                By:        /s/
                                                        Devon E. Lash
                                                        Gabriel Park
                                                        Assistant U.S. Attorneys
                                                        (718) 254-6099

  Enclosure

  cc:    Clerk of Court (CBA) (By ECF)
         Defense Counsel (By ECF and E-mail)


         1
                   The government respectfully requests that Exhibit A be filed under seal, given
  that it identifies personal information, including a home address, of a civilian witness. The risk to
  the safety of these witnesses outweighs the public’s right to disclosure. United States v.
  Amodeo, 44 F.3d 141, 147 (2d Cir. 1995) (need to protect the integrity of an ongoing
  investigation, including the safety of witnesses, may be compelling reason to justify sealing).

                                                   2
